                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE WESTERN DISTRICT OF VIRGINIA
                                          CHARLOTTESVILLE DIVISION


      CYNTHIA B. SCOTT , ET AL.,                                    CIVIL ACTION NO . 3:12-CV -00036
                                             Plaintiffs,

                              v.                                    MEMORANDUM OPINION

      HAROLD W. CLARKE , ET AL.,
                                           Defendants.              NORMAN K. MOON
                                                                    UNITED STATES DISTRICT JUDGE




           Plaintiffs, all prisoners residing at Fluvanna Correctional Center for Women (“FCCW”), a

  facility of the Commonwealth of Virginia Department of Corrections (the “VDOC”), filed this

  action pursuant to 42 U.S.C. § 1983 alleging that Defendants1 violated Plaintiffs’ constitutional

  rights under the Eighth Amendment to be free from cruel and unusual punishment. Plaintiffs assert

  that FCCW fails to provide adequate medical care and that Defendants are deliberately indifferent

  to this failure. Plaintiffs request a declaratory judgment and preliminary and permanent injunctions

  ordering FCCW to provide adequate medical care to Plaintiffs and all other similarly situated

  women residing at FCCW.

           Plaintiffs filed a motion seeking certification of a class consisting of themselves and all other

  women who currently reside or will in the future reside at FCCW and who have sought, are currently

  seeking, or will seek adequate, appropriate medical care for serious medical needs, as contemplated

  by the Eighth Amendment to the Constitution of the United States.2 The VDOC Defendants

  1
   The remaining Defendants, or the “VDOC Defendants,” are Harold W. Clarke, the Director of the VDOC;
  David Robinson, VDOC’s Chief of Corrections Operations; Frederick Schilling, VDOC’s Director of Health
  Services; and Phyllis A. Baskerville, the Warden at FCCW. I will also refer to Defendants as “the VDOC.”

  2
      This case was filed in July 2012. I have denied several motions to dismiss, and I awarded attorneys’ fees
                                                                                                 (continued...)



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 1 of 33 Pageid#: 3853
  responded in opposition to Plaintiffs’ motion, but do not contest the showings made by Plaintiffs

  with respect to each element of Rule 23(a), or controvert Plaintiffs’ arguments as to why this action

  is properly certified pursuant to Rule 23(b)(2), and to the extent the VDOC Defendants challenge

  the merits of Plaintiffs’ claims, a determination of the propriety of class certification (absent

  circumstances not present here) does not turn upon an assessment of the merits of the putative

  class’s claim.

         At the conclusion of the hearing in this matter, I stated that I would grant Plaintiffs’ motion.

  As described more fully herein, Plaintiffs present fully developed legal arguments and a record in

  support of their factual assertions that meet the threshold standards for class certification established

  in Rule 23(a) of the Federal Rules of Civil Procedure, and I am satisfied that, in accordance with

  Plaintiffs’ requests for declaratory and injunctive relief, the matter is appropriate for certification

  under Rule 23(b)(2).



                                                        I.3

                                                        A.

         Operated by the VDOC, FCCW houses approximately 1,200 women, a majority of whom are

  35 years of age or older and are serving median sentences of twenty years. FCCW includes a

  medical building in which medical, dental, and mental health services are provided. FCCW is the

  prison within the VDOC system purportedly able to provide the most complete medical care to


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   (...continued)
  to Plaintiffs upon resolution of a discovery dispute in Plaintiffs’ favor. I recently heard the parties’ cross-
  motions for summary judgment, and I will issue my opinion regarding those motions in the near future.

  3
    The factual allegations recounted herein are generally supported by the record that has been developed so
  far; however, they are not conclusions for the purpose of summary judgment.

                                                       -2-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 2 of 33 Pageid#: 3854
  women prisoners, and it is where women with serious medical problems are sent in the first instance,

  or to which they are transferred from other VDOC facilities for the purpose of receiving a

  supposedly “heightened” level of care.

        Since FCCW opened in 1998, the VDOC has contracted with outside medical providers for

  health care at the facility. Since at least November 2011, a frequently changing series of private,

  for-profit corporations have contracted to provide almost all medical, dental, and mental health

  services to the women at FCCW, with limited exceptions for services provided directly by the

  VDOC. The new contractor generally re-hires the medical personnel employed by the prior

  contractor. Frederick Schilling, the VDOC’s Health Services Director, testified that the price bid

  is the primary factor in the selection of the winning contractor from among competing bidders.

  Regarding the procurement process that resulted in Armor’s replacement of Corizon in 2011, he

  stated, “The number one difference [between the winning and losing bidder] was price.”

        Beginning in 2011, the VDOC sought bids for the FCCW contract based on “capitated

  financing,” in which the contractor sets up a pricing schedule that fluctuates monthly, based on the

  facility’s average daily population. “Capitated financing” allows the VDOC to predict, with some

  degree of certainty derived from population forecasts, how much it will spend on medical care over

  the life of the contract. Prior to the 2011 change, contracts were based upon a risk/reward-sharing

  model, under which the VDOC and the private contractor shared equally in the risk that medical

  expenses might exceed expectations (up to a certain pre-determined level, where 100% of the risk

  falls back upon the VDOC).

        Under the capitated financing scheme, also known as a “full-risk contract,” the contractor

  bears the full risk that health care costs may exceed the per prisoner price dictated by the pricing



                                                  -3-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 3 of 33 Pageid#: 3855
  schedule in the contract.4 The capitated financing model was used in the 2011 contract, the 2013

  contract, and the new contract that is supposed to have gone into effect on October 1, 2014. The

  contractor using the capitated system receives a fixed amount of money per prisoner, and its profit

  increases as the cost of care it provides to the prisoners decreases, regardless of how much or how

  little care is provided to the prisoners.

        The VDOC promulgates standard operating procedures for the provision of health care within

  its prisons, including those prisons, such as the FCCW, where health care services are rendered by

  private contractors. Private contractors – for example, Corizon Health, Inc. (“Corizon”) and Armor

  Correctional Health Services, Inc. (“Armor”) (collectively, the “contractors”), both of which were

  formerly defendants in this case – have their own procedures, but they must also follow the VDOC’s

  procedures. Additionally, a contractor’s doctors must use the VDOC formulary for prescribing

  medication. Although a series of private health care contractors has come and gone in rotating

  fashion during the sixteen years since FCCW opened, the policies, practices, and many of the

  personnel providing care have largely remained the same. According to individual health care

  providers who have worked at FCCW, a change of contractor only rarely causes a substantive

  change in the provision of care; rather, only certain administrative procedures and the nature or

  volume of paperwork actually change.

                                                     B.

        The warden at FCCW is the highest-ranking VDOC official at the facility. The warden has

  authority over all staff, including medical personnel. Even when there is a private medical

  contractor, the warden remains ultimately responsible for the operation of the facility, including


  4
   There are some narrow exceptions where the VDOC bears the full cost, e.g., for treatments related to the
  hepatitis C virus, HIV/AIDS, and hemophilia.

                                                    -4-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 4 of 33 Pageid#: 3856
  health care treatment and security. The VDOC determines the medical accommodations prisoners

  may receive, and medical staff has no authority to override VDOC criteria.

        Plaintiffs allege that directives from VDOC security staff are arbitrary, with a

  medical-condition accommodation being permitted one day and then deemed impermissible the

  next. For example, doctors were once permitted to write “medical profiles” prescribing bathroom

  access for women with incontinence, but those have now been prohibited by VDOC security staff.

  Dr. David MacDonald, the medical director at FCCW for approximately five years, testified as

  follows: “The warden in particular asked me to stop writing profiles for bathroom privileges and

  [stated] that they [VDOC correctional staff] would handle that necessity.” (Emphasis added.)

  Similarly, doctors formerly prescribed extra toilet paper for women with incontinence or excessive

  menstrual or rectal bleeding, but they are no longer permitted to do so. Plaintiffs claim that, as a

  result, prisoners are confronted with the choice between soiling themselves or being disciplined for

  “inappropriate bathroom usage.”

        According to Plaintiffs, the VDOC’s policies and practices permit decisions by non-medical

  staff to trump the medical staff’s treatment protocols. For example, security concerns have been

  raised to justify limiting the time within which a prisoner can be sent out for an appointment to see

  an outside medical provider. Security staff decisions also limit prisoners’ access to health care even

  within the facility. For instance, one VDOC report reviewing medical operations at FCCW recounts

  with concern an incident in which a prisoner with a broken ankle suffered for several weeks without

  treatment, and missed an appointment at least once because, “[p]er the LT [lieutenant], the offenders

  can only come over for medical appointments on Friday.” Nurse Woodson, who ran “sick call” at

  FCCW for many years, states that she experienced difficulty seeing patients for scheduled

  appointments during lockdowns.

                                                   -5-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 5 of 33 Pageid#: 3857
        Plaintiffs claim that the VDOC provides little supervision of the privately-provided care at

  FCCW, and that the VDOC provides little or no follow-up when it identifies deficiencies. Prior to

  May 2013, a VDOC regional nurse periodically visited FCCW, while more recently, the VDOC has

  used “contract monitors,” who visit the facilities regularly, review medical charts, and grade the

  contractor’s compliance using a series of metrics selected by the VDOC. The VDOC instituted the

  contract monitoring system when Corizon took over the health care contract from Armor in May

  2013. Having selected Corizon as the lowest bidder on the contract, the VDOC determined that

  monitors were necessary to make sure Corizon provided care that met VDOC standards.

        Catherine Thomas, the head Contract Monitor for the VDOC, is a registered nurse (“RN”)

  with over 40 years of experience. The VDOC assigned Ms. Thomas to develop monitoring tools

  based on VDOC policies and procedures. David Robinson, Chief of Corrections Operations at the

  VDOC, did not give Ms. Thomas any direction with regard to how she should develop those

  standards. According to Mr. Robinson, no VDOC policy specifically governs compliance or

  noncompliance with the contract for health services. Even so, Ms. Thomas relied on VDOC policies

  and procedures to develop the monitoring criteria, in consultation with Fred Schilling, the lead

  administrator for health services. Mr. Schilling is an administrator and does not have training as a

  medical care provider. The policies from which Ms. Thomas developed the monitoring tools deal

  with day-to-day operations of health services delivery, and not with specific illnesses or patient

  outcomes. The tools themselves monitor compliance in a number of areas based upon selection and

  review of a sample of patient charts, which are then scored. According to Ms. Thomas, the VDOC

  has determined that a compliance level of 80% is an acceptable score, because this is the compliance

  level targeted by VDOC facilities in the VDOC’s continuous quality improvement process. Scores

  regarding different aspects of care are combined and, thus, given the nature of averages, a

                                                  -6-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 6 of 33 Pageid#: 3858
  consolidated measure can return an overall compliance score greater than 80%, even though

  particular components of the measurement fall well below 80% (by the VDOC’s own standards).

        Ms. Thomas compiles monthly reports from the site monitors and sends those reports to

  various VDOC and private contractor officials. If the contractor falls short on any particular metric,

  it is then up to the contractor to create a quality improvement plan. Neither the Medical Director

  at FCCW nor any official with the private contractor, e.g., Corizon’s Regional Medical Director,

  regularly receives the reports. For example, Ms. Thomas keeps copies of reports when the

  contractor provides them, but does not share them with Mr. Schilling or Mr. Robinson at the VDOC.

  Ms. Thomas testified that, to her knowledge, no penalties are imposed on the contractor for

  non-compliance. For example, when monitoring reports identified serious flaws in pharmacy

  operations for over six months and lengthy backlogs in appointments with physicians, VDOC

  supervisors left it to the contract monitors to address these issues with the contractor, and the VDOC

  never contemplated any action to impose a default under the contract.

                                                   C.

        All VDOC inmates, including the women incarcerated at FCCW, are required to use the

  administrative grievance procedure developed by the VDOC in order to seek resolution of their

  medical issues and concerns. Plaintiffs allege that, although the VDOC receives many prisoner

  grievances regarding medical issues at both the institutional level and at VDOC headquarters, the

  VDOC has systematically failed adequately to respond to prisoner grievances regarding insufficient

  medical care, and the VDOC similarly refuses to use the process to identify larger systemic issues

  that merit attention and corrective action. In Plaintiffs’ view, the VDOC grievance system, at least

  as it is administered at FCCW, is used not to resolve grievances, but to prevent grievances from

  advancing by imposing an arbitrary and capricious bureaucratic burden on an inmate who avails

                                                   -7-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 7 of 33 Pageid#: 3859
  herself of the grievance process.

         Plaintiffs’ expert, Dr. Robert Greifinger, a physician licensed by the State of New York, has

  extensive experience in correctional healthcare, including the following: managing the provision

  of medical care at Riker’s Island, New York City’s main jail complex, from 1987 to 1989; serving

  for six years as the Chief Medical Officer for the New York State Department of Corrections, where

  he had overall responsibility for the provision of all inmate health services for a system involving

  68,000 prisoners; serving as a court-appointed monitor overseeing medical care in the jails in

  Philadelphia, Pennsylvania; Fulton County, Georgia; DeKalb County, Georgia; Albuquerque, New

  Mexico; and for the State of Alabama’s women’s prison from 2006 to 2009. Dr. Greifinger is

  currently the court-appointed monitor regarding medical care at the Metropolitan Detention Center

  in Albuquerque as well as at the Orleans Parish Prison in New Orleans, Louisiana, and he monitors

  multiple jail and prison correctional healthcare systems on behalf of the Civil Rights Division of the

  United States Department of Justice. Additionally, he serves as a consultant to the Office of Civil

  Rights and Civil Liberties of the U.S. Department of Homeland Security.5

         Dr. Greifinger’s report supports Plaintiffs’ allegations that FCCW’s responses to individual

  prisoner grievances at the institutional level do not address serious health care concerns when they

  are raised. For instance, Dr. Greifinger described the responses to Plaintiff Cynthia Scott’s

  grievances regarding “valid” medical complaints as “highly dispassionate and bureaucratic.” He

  continued:

         There are frequent responses that just say she filled out the wrong kind of form or her

  5
    Dr. Greifinger has authored or co-authored dozens of articles addressing correctional medicine published
  in peer-reviewed journals; and is the editor of, as well as the author of one chapter in, the Second Edition of
  Clinical Practice in Correctional Medicine (2006). He has been found qualified to testify as an expert
  witness with respect to correctional medical care standards and practices by courts in more than 60 cases from
  2000 to the present.

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Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 8 of 33 Pageid#: 3860
        complaint is too late to consider. Responses to grievances and complaints that indicate
        a need for urgency, such as medication lapses, are frequently not answered until ten
        days after the form was submitted. A few responses acknowledge the problems. One
        answer was redacted! . . . [M]ost are unresponsive to her pleas for information and
        timely access to care.

  (Internal citations omitted.) Reviewing “the medical care for Plaintiffs Cynthia B. Scott, Bobinette

  D. Fearce, Marguerite Richardson and Rebecca L. Scott (Plaintiffs),” Dr. Greifinger “found

  persistent and systematic barriers to access to an appropriate level of care and to care ordered by

  physicians for these patients . . . . Each of them has serious medical needs. The Defendants in all

  cases were aware of these serious medical needs.”

        Dr. Greifinger observed “a remarkable consistency to the complaints among the Plaintiffs and

  between the complaints of the Plaintiffs and the unnamed proposed class members.” Outlining

  “critical barriers to appropriate care for the Plaintiffs,” Dr. Greifinger discussed

        the patterns and practices that have caused actual harm . . . and the risk of harm to each
        of the Plaintiffs caused by systematic failures in the sick call process; failure to provide
        timely delivery or administration of prescribed medication; delays in diagnosis and
        treatment including failures to refer or undue delay in referring to outside specialists;
        failure to carry out specialists’ prescribed courses of treatment; denial of an appropriate
        level of care; failure to accommodate disability; and punishment for disability.

  (Paragraph numbering and internal citations omitted.)

        Significantly, Dr. Greifinger concluded that “[e]ach of the Plaintiffs filed numerous

  complaints, grievances, and appeals, putting the Defendants on notice of the deficiencies in care.”

  (Internal citations omitted.) He continued:

        Many of the responses to these notices were unnecessarily bureaucratic or callous, e.g.,
        wrong form. This kind of response is alienating and it foments distrust and disrespect.

               Some of the grievance “responses” are notably unresponsive. For example,
        Bobinette Fearce filed a grievance regarding failure to follow the UVA [University of
        Virginia Hospital Medical Center] recommendation for a referral to a cardiologist. The
        response was categorized as unfounded because FCCW physicians had not ordered it.
        I wonder why, then, the FCCW physician referred her to the ER. There is no clinical

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Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 9 of 33 Pageid#: 3861
         justification in the record to decline to follow through on the UVA ER physician’s
         recommendation. Another example is Margaurite [sic] Richardson’s request for a liver
         biopsy based on the UVA consultant’s recommendation. The response in this case was
         that liver biopsies are no longer the standard of practice. One wonders why FCCW
         physicians would send a patient to a specialist, only to reject that specialist’s
         recommendation. In fact, while there are other screening tests that have become
         available to use prior to biopsy, in Ms. Scott’s [sic] particular case, I expect that the
         gastroenterologist at the tertiary care center knew more about what was appropriate for
         this individual patient than the grievance officer.

   (Paragraph numbering and internal citations omitted.)

         Notwithstanding numerous examples of cursory, bureaucratic, or inadequate responses to

   prisoner medical grievances, Warden Brown testified that she gives the grievance system at FCCW

   “an A+.”

         According to the VDOC Defendants’ own expert, Ron Angelone, a former VDOC Director

   himself, a grievance response is adequate if “it is answered in a timely manner and neither avoids

   or ignores the issues of the complaint or grievance.” Dr. Greifinger describes Mr. Angelone’s view

   as “simplistic and bureaucratic,” writing that,

         [t]hrough [Mr. Angelone’s] lens, the resolution of real deficiencies in a correctional
         facility’s provision of medical care is outside his visual field. . . . The standards for
         medical care in prison are timely access to an appropriate level of care and care that is
         ordered by a physician. To my knowledge, there is no standard of medical care in
         prison that is satisfied by trying hard.

   (Emphasis added.)

         The record shows the following regarding the review of medical grievances. Mr. Schilling

   testified that he sends Level 2 medical grievances to the VDOC’s Dr. Amonette for review, but Dr.

   Amonette stated that he does not review the Level 2 grievances; instead, the reviews are performed

   by Howard Ray, a nurse in Mr. Schilling’s office. In turn, Mr. Ray rarely consults with Dr.

   Amonette, and Dr. Amonette testified that no VDOC physician regularly reviews Level 2 grievances

   concerning medical care. Mr. Schilling testified that complaints do not raise a red flag as long as

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Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 10 of 33 Pageid#: 3862
   they are determined to be unfounded.         When Schilling was asked, “The fact that you’ve

   [hypothetically] gotten 50 Level 2 grievances with regard to the same problem within a two-month

   period, wouldn’t in and of itself raise any red flag?” he replied, “No.”

         Dr. Greifinger reports that the VDOC’s failure to review the substance of prisoner complaints

   results in the dismissal of legitimate complaints and grievances without correcting problems. Dr.

   Greifinger observed that

         Schilling testified that grievance data were not routinely analyzed . . . . He also
         testified to what I consider a perverse understanding of the grievance process, i.e., even
         if a grievance correctly identifies a problem, it will still be called “unfounded” if the
         health staff solely tried to prevent the problem or provided a wholly untimely
         response . . . . This perverse definition of “unfounded” and the reluctance to analyze
         grievance data is an example of the “head in a sand” approach to legitimate complaints
         and grievances.

   (Emphasis added; internal citations omitted.)

         Dr. Greifinger concludes that “[t]he failure to respond appropriately to complaints, grievances,

   appeals, and even lawyers’ letters indicates an obstinacy to provide timely access to an appropriate

   level of care.”

                                                    D.

         Plaintiffs allege that FCCW inmates have suffered and continue to suffer the consequences

   of a host of serious, systematic failures in medical care, and that these failures have placed the

   Plaintiffs and other inmates who access FCCW medical care at risk of serious harm, deterioration

   in their health, and even death. Plaintiffs further allege that the deficiencies in medical care have

   caused serious harms and fatalities in the past. As I have observed in previous opinions in this case,

   the allegations in the complaint were well-pleaded, and the allegations in the instant motion support

   the merits of Plaintiffs’ class allegations of the VDOC’s general, systemic failure to treat serious

   medical conditions at FCCW. I will repeat only a few of the examples.

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Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 11 of 33 Pageid#: 3863
           Plaintiffs allege that FCCW inmates must negotiate arbitrary roadblocks both in requesting

   and accessing medical care, and in receiving diagnoses and treatment for their serious medical

   conditions. Plaintiffs present, for example, FCCW’s sick call process, the principal means by which

   prisoners request and access medical care. According to Plaintiffs, sick call is often significantly

   backlogged and fails to diagnose and treat serious conditions in a timely way. Often the nurses who

   preform triage screening of sick call requests are not registered nurses, but are licensed practical

   nurses (with less medical training), and the VDOC’s own contract monitors have noted substantial

   delays in the processing of sick call requests. Under these circumstances, FCCW prisoners face a

   substantial risk that their serious medical issues will be overlooked or not treated in time to avoid

   harm.

           The situation of Plaintiff Cynthia Scott is illustrative. Ms. Scott experienced swelling in her

   left leg and initiated a series of sick calls – sometimes two or three sick calls a week – to determine

   the cause, but nothing was done to help her. Even after Dr. Donald Remaly examined her and

   referred her to the University of Virginia Hospital Medical Center (“U.Va.,” or “UVA”) for an

   ultrasound, the Medical Director rescinded that order, delaying the ultrasound until the service could

   come to FCCW. However, when the service came to FCCW and the ultrasound procedure was

   begun, the ultrasound technician found a blood clot, quickly halted the procedure, and ordered that

   Ms. Scott be immediately taken to the U.Va. emergency room. By the time Ms. Scott arrived at

   U.Va., further ultrasound diagnosis determined that part of the blood clot had traveled to her lungs,

   a very serious development that placed her life at risk.

           Similarly, Plaintiff Marguerite Richardson made numerous sick call visits, beginning in the

   spring of 2011, regarding painful sores and boils on the back of her leg, but she received no effective

   treatment until a nurse belatedly reviewed the results of previously conducted lab tests and informed

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Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 12 of 33 Pageid#: 3864
   her that she had Methicillin-resistant Staphylococcus aureus (MRSA), which is a highly contagious

   form of bacterial infection that may be fatal if left untreated.

         Even after prisoners are seen by a provider, Plaintiffs allege that FCCW medical staff

   routinely fail to diagnose and treat serious medical problems. For example, Dr. MacDonald testified

   that VDOC guidelines did not indicate that treatment for Marguerite Richardson was warranted,

   despite the fact that she had Hepatitis C, elevated liver enzymes, and a painful, swollen torso. As

   Dr. Greifinger noted, “[t]here is no documentation in the medical record that the health staff at

   FCCW ever considered Ms. Richardson for treatment [for Hepatitis C] when she was within the

   window of opportunity for this treatment . . . She was denied treatment for a condition that is

   curable in many patients . . . ,” and as a result she now has signs of cirrhosis and decompensated

   liver failure. (Emphasis added.)

         Other prisoners at FCCW have similarly been placed at risk by the failure to diagnose and

   treat their conditions. For example, prisoner B.S.6 experienced intense lower back pain in May

   2012. She sought treatment at the FCCW infirmary. She was sent to U.Va., where she was treated

   for pneumonia and released. The pain continued for several more months and B.S. begged for help

   from doctors at FCCW. Finally, in November of 2012, she was sent again to U.Va., where she was

   diagnosed with osteomyelitis, a spine infection. The infection had continued for so long at that point

   that the tissue between her spinal discs had completely deteriorated.

         Prisoner M.W. repeatedly complained of pain and numbness in her right foot. Her complaints

   were not adequately addressed, and her diabetes-related circulation problems worsened, ultimately

   resulting in the amputation of her right foot and the lower part of her leg. The stump became


   6
    Prisoners who are not named plaintiffs, but who have submitted declarations describing the medical failures
   they have experienced, are referred to here by their initials.

                                                      -13-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 13 of 33 Pageid#: 3865
   infected – Plaintiffs allege that the infection “arguably” was the result of inadequate wound care at

   FCCW – and it was necessary for M.W. to undergo a second amputation above her knee.

         Plaintiffs allege that FCCW has a policy and practice of failing to schedule or send prisoners

   to see outside specialists in a timely manner. As recently as March 2014, requests made under the

   utilization management process, which is used to approve offsite provider visits and tests, took up

   to three weeks or longer just to be approved. As of May 27, 2014, referrals to outside providers that

   were considered urgent still took a week or more to be approved. However, these delays are modest

   compared to some of the documented delays that named Plaintiffs have experienced. For example,

   doctors at U.Va., treating Cynthia Scott for sarcoidosis, were concerned about the results of Ms.

   Scott’s EKG and ordered a follow-up MRI. Ms. Scott did not undergo the MRI for another six

   weeks. Similarly, on August 22, 2013, Dr. Sylvia McQueen ordered a colonoscopy for Plaintiff

   Bobinette Fearce. As a Corizon vice president at the time, Dr. McQueen was not subject to the

   utilization management approval process and directly approved the colonoscopy order herself.

   Still, Ms. Fearce did not have the colonoscopy until February 22, 2014, six months after it was

   ordered.

         Plaintiffs allege that other prisoners at FCCW have also experienced substantial delays in

   seeing outside providers for treatment and tests. For example, prisoner C.R. experienced several

   episodes of throwing up blood, and in late February 2014, physicians at U.Va. informed her that she

   had an ulcer caused by damage from the drugs she was taking (ibuprofen and Lovenox7), and that

   she should return in two months for a gastrointestinal scope. As of May 20, 2014, FCCW had not

   sent C.R. for this examination. Similarly, prisoner A.C. has suffered consistent, daily rectal

   7
     Lovenox is a trade name for enoxaparin sodium, an anticoagulant used, among other things, to prevent and
   treat deep vein thrombosis or pulmonary embolism. See http://en.wikipedia.org/wiki/Enoxaparin_sodium (last
   accessed October 16, 2014).

                                                     -14-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 14 of 33 Pageid#: 3866
   bleeding, with blood flow similar to a heavy menstrual period, during the time she has been

   incarcerated at FCCW. Beginning in 2013, she has received repeated advice to her from doctors at

   FCCW that she needs to be referred for corrective surgery. As of April 23, 2014 (the date of her

   declaration), she had received no further treatment for the condition.

         Plaintiffs allege that, even after prisoners have seen outside providers for specialized diagnosis

   and treatment, FCCW staff, following the VDOC’s policies and practices, ignore or refuse to follow

   the treatment orders of those outside providers. Dr. Paul Ohai, who worked for both Corizon and

   Armor (for the latter as a Regional Medical Director), testified as follows that, under either Corizon

   or VDOC policy, the physician at the prison is expected to review and change a specialist’s orders:

         Q. So when the prisoner returns to the prison, the physician at the prison would review
         the specialist’s orders?

         A. That’s correct.

         Q. And that physician might change some of the orders?

         A. As per policy, he’s expected to. Either Corizon or DOC policy, he’s supposed to.
         That’s part of his job.

         As previously mentioned, a U.Va. specialist recommended Plaintiff Marguerite Richardson

   for a liver biopsy, and she filed a grievance when FCCW failed to send her for the biopsy pursuant

   to the specialist’s recommendation. In response to her grievance, FCCW staff told her the procedure

   had been denied because liver biopsies are “no longer the standard of practice.” However, as Dr.

   Greifinger observed, “[o]ne wonders why FCCW physicians would send a patient to a specialist,

   only to reject that specialist’s recommendation . . . in Ms. Richardson’s particular case, I expect the

   gastroenterologist at the tertiary care center knew more about what was appropriate for this




                                                    -15-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 15 of 33 Pageid#: 3867
   individual patient” than did the individual responding to the grievance.8

         The declarations of other prisoners suggest that Ms. Richardson’s case is not isolated, and

   Plaintiffs allege that numerous other FCCW prisoners have seen the treatments prescribed by off-site

   specialists ignored or modified. In particular, D.S.’s HIV specialist recommended that her HIV

   medication be switched from Atripla to Stribild due to the adverse mental health effects of Atripla.

   Her medication was not changed for two months because FCCW “wanted to use up all the old

   Atripla pills” before changing medications. Similarly, B.E.G.’s surgeons placed an expander in her

   chest following her mastectomy for breast cancer, and the expander was supposed to remain for only

   six months. B.E.G. has never been sent for follow-up to have the expander removed and to receive

   reconstructive surgery, despite the fact that her mastectomy took place in 2012. Furthermore, after

   a heart attack in September of 2012, B.E.G. was seen by a cardiologist who recommended an outside

   appointment for a heart test using a halter monitor, but she has not received a halter monitor, either.

         Plaintiffs allege that the VDOC’s policies and practices deny needed accommodations to

   prisoners at FCCW with disabilities and serious medical conditions. For example, cells at FCCW

   are not equipped with toilets, so prisoners must leave their cells to use the bathroom. At times when

   the cells are locked, such as during the daily counts or at night, prisoners cannot leave their cells to

   use the bathroom without obtaining permission from security. As previously mentioned, medical

   staff formerly issued profiles allowing prisoners with incontinence or other medical conditions to

   use the bathroom as needed, but as Dr. MacDonald testified, “[s]ecurity said it was an onerous

   aspect for them to carry and they would rather take care of it on their own without profiles. So I


   8
     It appears that liver biopsies very well may be the standard of practice for hepatitis C patients, such as
   Marguerite Richardson. “Consensus conference statements recommended liver biopsy in the management
   of almost all patients with hepatitis C and B.” http://en.wikipedia.org/wiki/Liver_biopsy (last accessed
   October 15, 2014).

                                                      -16-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 16 of 33 Pageid#: 3868
   stopped writing profiles.” As a result, because prisoners like Marguerite Richardson and Bobinette

   Fearce, both of whom suffer from incontinence, are not allowed access to a bathroom, they

   sometimes are forced to wet or soil themselves. Similarly, FCCW waited four months to repair or

   replace the malfunctioning hearing aids upon which plaintiff Rebecca Scott depends. According to

   Plaintiffs, Rebecca Scott was written up for disciplinary violations because she could not hear

   announcements given over the intercom.

         Plaintiffs allege that numerous other prisoners have been denied needed accommodations for

   their medical conditions as well. Prisoner L.S.M. has a previous hip injury that requires her to use

   a cane for balance and a walker outside. Upon L.S.M.’s arrival at FCCW, prison staff took both of

   these away from her and did not return them for approximately a week. FCCW also forbade L.S.M.

   from raising more than one medical issue at a time in her sick call requests, denying requests on the

   ground that she had raised more than one medical issue. D.E. wears a bracelet stating that she is a

   fall risk, but nonetheless was taken to an off-site oncologist appointment wearing shackles and cuffs

   without sufficient staff assistance, which caused her to fall and permanently injure her knee. These

   declarations support the allegations that prisoners across the board at FCCW suffer the consequences

   of the same series of medical failures that affected and continue to affect the named Plaintiffs.

         Plaintiffs allege that, because of the VDOC’s policies and practices, FCCW consistently fails

   to provide medications that prisoners need to treat illnesses or manage pain. The VDOC’s own

   contract monitors have noted major deficiencies on multiple occasions in how medications are

   ordered, stored, and administered. Long delays are typical in filling prescriptions for medications

   for chronic conditions such as diabetes, seizures, and cardiac conditions. Moreover, non-formulary

   medications can take up to a year to be approved. FCCW also fails to provide adequate pain

   medication to prisoners with severe, chronic conditions such as degenerative joint disease, instead

                                                   -17-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 17 of 33 Pageid#: 3869
   telling them to buy over-the-counter medications such as Tylenol through the commissary. These

   delays and denials can have catastrophic consequences. For example, Plaintiffs allege that I.F., an

   able-bodied person before her incarceration at FCCW, now uses a wheelchair because she does not

   receive sufficient anti-inflammatories or pain medications to prevent the swelling and pain in her

   burn-scarred legs. Similarly, FCCW staff gave T.G. the wrong medications for her Type I diabetes,

   including being given Metformin and glyburide, which are treatments for Type II diabetics. This

   causes her diabetes to be very poorly controlled; she is frequently faint, and her vision has

   deteriorated to the point that she can no longer read small print.



                                                      II.

         The deprivation of medical care to which the named Plaintiffs and the class members allege

   they have been subjected is impermissible under the Eight Amendment’s bar to cruel and unusual

   punishment. “Prisoners are dependent on the State for food, clothing, and necessary medical care.

   A prison’s failure to provide sustenance for inmates may actually produce physical torture or a

   lingering death” in violation of the Eighth Amendment. Brown v. Plata, 563 U.S. ___, ___, 131 S.

   Ct. 1910, 1928 (2011) (quotations and citations omitted). “Just as a prisoner may starve if not fed,

   he or she may suffer or die if not provided adequate medical care.” Id. Here, as in Brown,

   “[p]laintiffs rely on systemwide deficiencies in the provision of medical . . . care that, taken as a

   whole, subject sick . . . prisoners . . . to ‘substantial risk of serious harm’ and cause the delivery of

   care to fall below the evolving standards of decency that mark the progress of a maturing society.”

   Id. at 563 U.S. at ___ n. 3., 131 S. Ct. at 1925 n. 3 (quoting Farmer v. Brennan, 511 U.S. 825, 834

   (1994)).

         As a consequence of their own actions, prisoners may be deprived of rights that are

                                                     -18-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 18 of 33 Pageid#: 3870
         fundamental to liberty. But the law and the Constitution demand recognition of certain
         other rights. Prisoners retain the essence of human dignity inherent in all persons.
         Respect for that dignity animates the Eighth Amendment prohibition against cruel and
         unusual punishment. “The basic concept underlying the Eighth Amendment is nothing
         less than the dignity of man.” Atkins v. Virginia, 536 U.S. 304, 311 (2002) (quoting
         Trop v. Dulles, 356 U.S. 86,100 (1958) (plurality opinion)).

                 To incarcerate, society takes from prisoners the means to provide for their own
         needs. . . . A prison that deprives prisoners of basic sustenance, including adequate
         medical care, is incompatible with the concept of human dignity and has no place in a
         civilized society.

   Brown, 563 U.S. at ___, 131 S. Ct. at 1928. Consistent with these fundamental principles, the

   named Plaintiffs here seek declaratory and injunctive relief, for themselves and on behalf of all

   women who reside or will reside at FCCW, to prevent a perpetuation of the substandard medical

   care rendered by the VDOC at the prison on a systemic basis.

         Plaintiffs’ allegations and evidence in support thereof, as summarized above, presents a case

   not only that the named Plaintiffs have already suffered harm, but that many other FCCW prisoners

   have as well, based on the Defendants’ provision of inadequate medical care, or even the complete

   failure to provide care under circumstances in which it was obviously necessary. Moreover,

   Plaintiffs allege a pattern and practice of deficient care that subjects the named Plaintiffs and all

   others who are or will be incarcerated at FCCW to an ongoing substantial risk of serious harm in

   contravention of established Eighth Amendment standards. As discussed more fully below,

   Plaintiffs meet each requirement for class certification.



                                                     III.

                                                      A.

         “[F]ederal courts should give Rule 23 a liberal rather than a restrictive construction, adopting

   a standard of flexibility in application which will in the particular case best serve the ends of justice

                                                     -19-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 19 of 33 Pageid#: 3871
   for the affected parties and . . . promote judicial efficiency.” Gunnells v. Healthplan Servs., Inc.,

   348 F.3d 417, 424 (4th Cir. 2003) (quotations and citation omitted). Furthermore,“courts routinely

   certify class actions involving prisoners, including cases challenging prison health care, mental

   health care, and dental care.” Flynn v. Doyle, 2007 WL 805788, at *3 (E.D. Wis. Mar. 14, 2007)

   (citing cases, certifying a class of “current and future [inmates at Taycheedah Correctional

   Institution (TCI) in Fond du Lac, Wisconsin], and . . . current and future TCI prisoners who have

   a disability”); see also Dean v. Coughlin, 107 F.R.D. 331, 333 (S.D.N.Y. 1985) (citing cases, and

   certifying class of “all persons who will be inmates” to challenge inadequate dental care).

                                                      B.

         Rule 23(a) provides that

         [o]ne or more members of a class may sue . . . as representative parties on behalf of all
         members only if:
         (1) the class is so numerous that joinder of all members is impracticable;
         (2) there are questions of law or fact common to the class;
         (3) the claims or defense of the representative parties are typical of the claims or
         defense of the class; and
         (4) the representative parties will fairly and adequately protect the interests of the class.

   Plaintiffs’ proposed class satisfies each of these threshold requirements.

                                             1. “Numerosity”

         With approximately 1,200 women prisoners housed at FCCW who are subject to its medical

   care system, the proposed class is sufficiently large, on its face, to satisfy the Rule 23(a)(1)

   “numerosity” criterion.

         Joinder of all FCCW prisoners would be impracticable. “Impracticable,” for the purposes of

   Rule 23, does not mean “impossible”; rather, Plaintiffs must show that the number of allegedly

   affected individuals is sufficiently large that “[i]t would be extremely difficult or inconvenient to

   join all the members of the class.” See generally 7A Charles A. Wright, Arthur R. Miller & Mary

                                                     -20-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 20 of 33 Pageid#: 3872
   Kay Kane, Federal Practice and Procedure § 1762 at 176 (3d ed. 2005) (footnote omitted); see

   also 1 Alba Conte & Herbert Newberg, Newberg on Class Actions § 3:3 at 225 (4th ed. 2002)

   (“Where the exact size of the class is unknown but general knowledge and common sense indicate

   that it is large, the numerosity requirement is satisfied.”). In general, if a proposed class size

   exceeds 25 plaintiffs, joinder is usually presumed impracticable. Talbott v. GC Servs. Ltd.

   P’ship, 191 F.R.D. 99, 102 (W.D. Va. 2000); see also Knight v. Lavine, 2013 WL 427880, at *2

   (E.D. Va. Feb. 4, 2013) (“The Fourth Circuit has affirmed certification for classes as small as 18

   people.”) (citing Cypress v. Newport News Gen. and Nonsectarian Hosp. Ass’n, 375 F.2d 648, 653

   (4th Cir. 1967)).

         “Furthermore, other factors weigh in favor of finding that numerosity is met here, including

   the fluidity of prison populations and [individual] prisoners’ lack of access to counsel.” Riker v.

   Gibbons, 2009 WL 910971, at *2 (D. Nev. Mar. 31, 2009); see also Clarke v. Lane, 267 F.R.D. 180,

   195 (E.D. Pa. 2010) (numerosity requirement satisfied by class of residents of facility holding up

   to 300 prisoners at a time); Lambertz-Brinkman v. Reisch, 2008 WL 4774895, at *1 (D. S.D. Oct.

   31, 2008) (“Because the class includes future inmates, I find that joinder of all members would be

   impracticable.”); Dean, 107 F.R.D. at 332-33 (“The fluid composition of a prison population is

   particularly well-suited for class status, because, although the identity of the individuals involved

   may change, the nature of the wrong and the basic parameters of the group affected remain

   constant.”).

                                           2. “Commonality”

         Rule 23(a)(2) requires Plaintiffs, as movants, to demonstrate that “there are questions of law

   or fact common to the class” that they seek to represent. While “[t]he requirement that questions

   of law or fact must be common to the class is to be liberally construed,” see McGlothin v.

                                                   -21-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 21 of 33 Pageid#: 3873
   Connors, 142 F.R.D. 626, 632 (W.D. Va. 1992), a rigorous assessment of whether the Plaintiffs

   satisfy the “commonality” element of Rule 23(a) is mandated by the decision of the Supreme Court

   of the United States in Wal-Mart Stores, Inc. v. Dukes, 564 U.S. ___, ___, 131 S. Ct. 2541 (2011).

   Under Wal-Mart, “[c]ommonality requires Plaintiffs to demonstrate that the class members ‘have

   suffered the same injury’ . . . not . . . merely that they have all suffered a violation of the same

   provision of law.” 564 U.S. at ___, 131 S. Ct. at 2551 (citing Gen. Tel. Co. of Southwest v.

   Falcon, 457 U.S. 147, 157 (1982)). Thus, Plaintiffs’ claims “must depend upon a common

   contention . . . of such a nature that it is capable of classwide resolution – which means that

   determination of its truth or falsity will resolve an issue that is central to the validity of each one of

   the claims in one stroke.” Wal-Mart, 564 U.S. at ___, 131 S. Ct. at 2551. “‘What matters to class

   certification . . . [is] the capacity of a classwide proceeding to generate common answers apt to drive

   the resolution of the litigation.’” Id. (citing Nagareda, Class Certification in the Age of Aggregate

   Proof, 84 N.Y.U. L. Rev. 97, 132 (2009) (emphasis in original)); see also Gray v. Hearst Commc’ns,

   Inc., 444 Fed. App’x 698, 700 (4th Cir. 2011); cf. Scott v. Family Dollar Stores, Inc., 733 F.3d 105,

   113 (4th Cir. 2013).

         Notwithstanding the heightened scrutiny prescribed by Wal-Mart to be applied to the

   “commonality” requirement, it remains clear that “‘[e]ven a single [common] question” of law or

   fact will suffice to satisfy the requirements of Rule 23(a)(2). Wal-Mart, 564 U.S. at ___, 131 S. Ct.

   at 2556 (citation omitted). In addition, Wal-Mart principally involved claims for damages as to

   which certification was sought under Rule 23(b)(3), while the commonality element is more easily

   established in proposed class actions seeking injunctive or declaratory relief, such as the instant

   case. Indeed, “suits for injunctive relief by their very nature present common questions of law and

   fact.” McGlothlin, 142 F.R.D. at 633; see generally 1 Conte & Newberg, supra, § 3:10 at 277-78

                                                     -22-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 22 of 33 Pageid#: 3874
   (“When the party opposing the class has engaged in some course of conduct that affects a group of

   persons and gives rise to a cause of action, one or more of the elements of that cause of action will

   be common to all of the persons affected.”). Plaintiffs’ allegations meet the requirements of the

   post-Wal-Mart analytical framework for determining “commonality.”

         The essential questions in this case – questions of fact and questions of law – do not vary

   among class members.

         Common questions of fact include the following: (a) whether the VDOC’s contract system

   permits improper cost considerations to interfere with treatment of serious medical conditions; (b)

   whether the VDOC uses specious security justifications to trump treatment or accommodation of

   serious medical conditions and disabilities; (c) whether the VDOC fails to provide appropriate

   oversight, training, and supervision of medical care at FCCW; and (d) whether, as a result, the

   VDOC systematically provides inadequate medical care to the women residing at FCCW.

         Common questions of law include the following: (a) whether the systemic and pervasive

   deficiencies in care at FCCW have placed its residents at unreasonable risk of suffering new or

   worsening physical injury, illness, mental anguish, emotional distress, and the prospect of premature

   death; and (b) whether the VDOC’s policies, procedures, and practices reflect deliberate indifference

   to the serious medical needs of residents of FCCW such that it has violated their right to be free

   from cruel and unusual punishment as proscribed by the Eighth Amendment.

         Whether VDOC systematically provides inadequate medical care to the women residing at

   FCCW is a question of fact common to all class members. Plaintiffs have provided declarations

   from 17 women in addition to the named Plaintiffs demonstrating that their shared experiences with

   medical care at FCCW have been consistently damaging and traumatic. For the named Plaintiffs

   to proceed as individual litigants would not make sense. The key factual issues at the heart of

                                                   -23-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 23 of 33 Pageid#: 3875
   Plaintiffs’ claims of constitutionally deficient medical care do not turn on an individual plaintiff’s

   particular personal health concerns, but rather on FCCW’s and the VDOC’s alleged systemic failure

   to provide a level of medical care to all of its residents that complies with constitutional norms.

   While the claims of the class members must arise from similar practices and be based on the same

   legal theory, the commonality requirement does not require that all class members share identical

   factual histories. See Holsey v. Armor & Co., 743 F.2d 199, 217 (4th Cir. 1984) (“Despite the

   presence of individual factual questions, the commonality criterion of Rule 23(a) is satisfied by the

   common questions of law presented.”).9

         Numerous courts presented with similar factual circumstances have concluded that the

   prisoners’ claims easily satisfy the Rule 23(a)(2) commonality requirement. See, e.g., Parsons v.

   Ryan, 754 F.3d 657 (9th Cir. 2014). In Parsons, the Arizona Department of Corrections sought

   interlocutory appellate review of a federal district court’s decision to certify a class in an action

   brought by state prisoners alleging deficient medical, dental and mental health care of a systemic

   nature in the state’s correctional facilities.10 On appeal, the State of Arizona’s principal argument

   was that the district court erred in finding that the prisoners’ claims satisfied the “commonality”

   requirement of Rule 23(a)(2) under the heightened scrutiny mandated by the Supreme Court in Wal-

   Mart. The United States Court of Appeals for the Ninth Circuit rejected the defendants’ argument



   9
     See generally Knight v. Lavine, supra, 2013 WL 427880, at *2 (where the primary question presented in
   ERISA breach-of-fiduciary-duty action was common to all 401(k) plan participant class members, individual
   issues concerning quantification of their respective losses did not preclude class certification);
   Martinez-Hernandez v. Butterball, LLC, 2011 WL 4549606, at *4 (E.D. N.C. Sept. 29, 2011) (individual
   distinctions between putative class members regarding impact upon each of defendants’ unlawful wage/hour
   practices did not impede a “commonality” finding in light of court’s determination that “this case involves
   a uniform policy or practice of compensating employees based on their scheduled shifts.”).

   10
    Coincidentally, medical, mental, and dental health care services are provided to the State of Arizona by
   Corizon, the VDOC’s current contractor. See Parsons, 754 F.3d at 662.

                                                      -24-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 24 of 33 Pageid#: 3876
   that the presence of individualized medical injuries defeats class certification, noting that the

   defendants’ position “amounts to a sweeping assertion that, after Wal-Mart, Eighth Amendment

   claims can never be brought in the form of a class action.” Id. at 675-76. The Court of Appeals

   explained that “[t]he defendants’ view rests . . . on a fundamental misunderstanding of Wal-Mart,

   Eighth Amendment doctrine, and the plaintiffs’ constitutional claims.” Id. at 676.

         Invoking the Supreme Court’s reasoning and holding in Brown v. Plata, supra, and focusing

   upon the specific nature and substance of the plaintiffs’ claims, the Ninth Circuit concluded that

         [h]ere, a proper understanding of the nature of the plaintiffs’ claims clarifies the issue
         of commonality. What all members of the putative class . . . have in common is their
         alleged exposure, as a result of specified statewide ADC policies and practices that
         govern the overall conditions of health care services and confinement, to a substantial
         risk of serious future harm to which the defendants are allegedly deliberately
         indifferent. As the district court recognized, although a presently existing risk may
         ultimately result in different future harm for different inmates – ranging from no harm
         at all to death – every inmate suffers exactly the same constitutional injury when he is
         exposed to a single statewide ADC policy or practice that creates a substantial risk of
         serious harm. . . .

                 The putative class . . . members thus all set forth numerous common contentions
         whose truth or falsity can be determined in one stroke: whether the specified statewide
         policies and practices to which they are all subjected by ADC expose them to a
         substantial risk of harm. . . .

                  The district court thus did not abuse its discretion in deciding to structure the
         litigation in the form of a class of “all prisoners who are now, or will in the future be,
         subjected to the medical, mental health, and dental care policies and practices of the
         ADC.” After all, every inmate in ADC custody is necessarily subject to the same
         medical, mental health, and dental care policies and practices of the ADC. And any one
         of them could easily fall ill, be injured, need to fill a prescription, require emergency
         or specialist care, crack a tooth, or require mental health treatment. It would indeed be
         surprising if any given inmate did not experience such a health care need while serving
         his sentence. Thus, every single ADC inmate faces a substantial risk of serious harm
         if ADC policies and practices provide constitutionally deficient care for treatment of
         medical, dental, and mental health needs. As Justice Kennedy explained in Plata,
         inadequate health care in a prison system endangers every inmate[.]

   Parsons, 754 F.3d 678-79 (citations omitted).


                                                   -25-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 25 of 33 Pageid#: 3877
         The reasoning articulated by the Ninth Circuit and the result reached with respect to the

   “commonality” criterion in Parsons are directly applicable here. Plaintiffs allege that the policies

   and practices at FCCW – e.g., the defective sick call process; FCCW’s refusal to refer or undue

   delay in referring prisoners for specialized care; the failure to maintain continuity in the provision

   of prescribed, potentially life-sustaining medications; etc. – reflect substandard medical care on the

   part of the Defendants. Whether these policies and practices place the Plaintiffs and other current

   and future FCCW prisoners at a substantial risk of serious harm to which the Defendants are

   deliberately indifferent implicates questions of fact and law common to the entire putative class.

         Other district courts have recognized, in the aftermath of Wal-Mart, that its analytical regime

   concerning “commonality” does not serve as a barrier to the certification of class actions in cases

   involving prisoners’ claims alleging a pattern and practice of conduct resulting in unconstitutional

   conditions of confinement. See, e.g., Jones v. Gusman, 2013 WL 2458817, at *40-42 (E.D. La. June

   6, 2013) (in action brought by residents of Orleans Parish Prison challenging unlawful conditions

   with respect to safety and security, medical and mental health care, environmental conditions, fire

   safety and lack of Spanish language translation services, all attributed to Parish Sheriff’s systemic

   policies, court found “commonality” and “typicality” criteria satisfied, Wal-Mart notwithstanding);

   Hughes v. Judd, 2013 WL 1821077, at *19-25 (M.D. Fla. Mar. 27, 2013) (in action brought by

   parents and guardians of juvenile detainees alleging Polk County Sheriff’s deliberate indifference

   to guard-detainee and detainee-detainee violence and to the harm caused to detainees resulting from

   Sheriff’s unlawful policy governing the use of pepper spray in the County Jail, magistrate judge

   found that all elements of Rule 23(a), including “commonality”, were satisfied in light of Wal-Mart

   analysis), report and recommendation adopted as modified on other grounds, 2013 WL 1810806

   (M.D. Fla. April 30, 2013); Butler v. Suffolk Cnty, 289 F.R.D. 80, 96-101 (E.D. N.Y. 2013)

                                                   -26-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 26 of 33 Pageid#: 3878
   (prisoners residing in County correctional facilities brought class action seeking declaratory and

   injunctive relief challenging systemic adverse environmental conditions resulting from County’s

   alleged policies and practices reflecting deliberate indifference to their health; the district court, over

   defendants’ challenge based on Wal-Mart, certified the class, holding that “[w]hether the County

   was aware of and deliberately indifferent to the conditions at the SCCF is a common question

   subject to class-wide resolution” (citation omitted)).11

                                                 3. “Typicality”

          Rule 23(a)(3) mandates that “the claims . . . of the representative parties [must be] typical of

   11
     Accord Chief Goes Out v. Missoula Cnty, 2013 WL 139938, at *4-*7 (D. Mont. Jan. 10, 2013) (denial of
   fresh air and outdoor exercise); Indiana Protection and Advocacy Servs. Comm’n v. Comm’r, Indiana Dep’t
   of Corrections, 2012 WL 6738517, at *18 (S.D. Ind. Dec. 31, 2012) (denial of adequate mental health care
   and excessive use of solitary confinement; “The mentally ill prisoners here, have demonstrated through a
   wealth of evidence, that the class is united by the common question of whether the lack of treatment and
   isolated living conditions in IDOC facilities violate the Eighth Amendment.”); Henderson v. Thomas, 289
   F.R.D. 506, 511-12 (M.D. Ala. 2012) (policy pursuant to which HIV-positive prisoners were segregated from
   remainder of prison population in violation of Americans With Disabilities Act and Rehabilitation Act);
   Olson v. Brown, 284 F.R.D. 398, 410 (N.D. Ind. 2012) (“[I]n this case, Mr. Olson has shown that the
   [Tippecanoe County Jail’s] specific practices relative to the handling (or non-handling) of grievances,
   opening of legal mail, and restricting access to the law library, have caused the inmates to suffer the same
   potential injury, which ties all of their jail standards claims together.” (Citations omitted.)); Rosas v. Baca,
   2012 WL 2061694, at *2-5 (C.D. Cal. June 7, 2012) (unlawful policy of failing to prevent deputy-on-inmate
   and inmate-on-inmate violence in Los Angeles County jail system).
            By the same token, Parsons confirms the continuing vitality of pre-Wal-Mart decisions in which
   prisoners’ claims of deficient medical care of a systemic nature were certified to proceed as class actions. See,
   e.g., Clarke, 267 F.R.D. at 196 (“failure to provide adequate healthcare” is the overarching common factual
   issue, notwithstanding differences in particular allegations of individual named plaintiffs); Riker, 2009 WL
   910971, at *3 (“In this case, there are common issues of both fact and law. The common issue of fact
   concerns the policies and inadequacies Plaintiffs allege inhere in [the prison’s] health care system. The
   common issue of law concerns whether these policies and inadequacies constitute a[n] Eighth Amendment
   violation.”); Lambertz-Brinkman, 2008 WL 4774895, at *2 (“All members of the class seek a declaration that
   an illegal policy and practice exists and an injunction should be issued prohibiting such practice. This is
   sufficient to establish the requisite commonality.”); Flynn, 2007 W L 805788 at *4 (“The commonality and
   typicality requirements are also more easily met when the class members only seek injunctive relief, rather
   than monetary damages.”); Bradley v. Harrelson, 151 F.R.D. 422, 426 (M.D. Ala. 1993) (“Though there
   certainly may be some factual differences between the individual class members and the nature or severity
   of their illness, such individual differences do not defeat certification because there is no requirement that
   every class member be affected by the institutional practice or condition in the same way.”); Dean, 107
   F.R.D. at 333 (“[T]he claims of each class member need not be identical to raise common factual and legal
   questions regarding the adequacy of an entire [prison health-care] system.”).

                                                         -27-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 27 of 33 Pageid#: 3879
   the claims . . . of the class.” As the courts have frequently observed, this “typicality” criterion has

   close conceptual connections to both the Rule 23(a)(2) “commonality” requirement, discussed

   above, and the Rule 23(a)(4) “adequacy of representation” inquiry, addressed infra. The Supreme

   Court noted as follows in Wal-Mart:

         We have previously stated in this context that “[t]he commonality and typicality
         requirements of Rule 23(a) tend to merge. Both serve as guideposts for determining
         whether under the particular circumstances maintenance of a class action is economical
         and whether the named plaintiff’s claim and the class claims are so interrelated that the
         interests of the class members will be fairly and adequately protected in their absence.
         Those requirements therefore also tend to merge with the adequacy-of-representation
         requirement[.]

   564 U.S. at ___ n. 5, 131 S. Ct. at 2551 n. 5 (citing Falcon, 457 U.S. at 157-58 & n. 13).

         Where “[t]he representative party’s interest in prosecuting his own case . . . simultaneously

   tend[s] to advance the interests of the absent class members,” the typicality standard is satisfied.

   Soutter v. Equifax Info. Servs., LLC, 498 Fed App’x 260, 264 (4th Cir. 2012); Deiter v. Microsoft

   Corp., 436 F.3d 461, 466 (4th Cir. 2006); see also Armstrong v. Davis, 275 F.3d 849, 869 (9th Cir.

   2001) (the “named plaintiffs’ injuries [need not] be identical with those of the other class members,

   only that the unnamed class members have injuries similar to those of the named plaintiffs, and that

   the injuries result from the same, injurious course of conduct”); Rubidoux v. Celani, 987 F.2d 931,

   936-37 (2d Cir. 1993) (“When it is alleged that the same unlawful conduct was directed at or

   affected both the named plaintiff and the class sought to be represented, the typicality requirement

   is usually met irrespective of minor variations in the fact patterns underlying individual claims.”).

         The essential question here is the extent to which the named Plaintiffs, by demonstrating the

   facts necessary to establish a prima facie case on their claims with respect to the systemic

   deficiencies characterizing the medical care system at FCCW and Defendants’ deliberate

   indifference to Plaintiffs’ serious medical needs, “would also prove the claims of the absent class

                                                    -28-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 28 of 33 Pageid#: 3880
   members.” Deiter, 436 F.3d at 467. Here, Plaintiffs have alleged a broad variety of medical

   problems – diseases, physical afflictions, deteriorating conditions, and chronic pain – that are

   generally representative of the adverse health issues experienced by the entire prisoner population

   at FCCW. If Plaintiffs succeed in demonstrating by a preponderance of admissible evidence that

   the methods and procedures employed by FCCW in responding to their medical problems and

   concerns fail to pass constitutional muster and are attributable to deliberate indifference on the part

   of the Defendants, the resulting declaratory and injunctive relief would doubtless benefit the named

   Plaintiffs and all other FCCW prisoners alike.

         Accordingly, the typicality requirement of Rule 23(a)(3) is met here, as numerous other courts

   have recognized in certifying substantially similar prisoners’ medical care class actions. See, e.g.,

   Parsons, 754 F.3d at 686 (“[i]t does not matter than the named plaintiffs may have in the past

   suffered varying injuries or that they may currently have different healthcare needs; Rule 23(a)(3)

   requires only that their claims be ‘typical’ of the class, not that they be identically positioned to each

   other or to every other class member” (citation omitted)); Smentek v. Sheriff of Cook County, 2010

   WL 4791509, at *7 (N.D. Ill. Nov. 18, 2010) (injunctive class certified regarding inadequate

   provision of dental care); Clarke, 267 F.R.D. at 197 (named plaintiff’s inadequate health care claim

   typical of the claims of the class he sought to represent); Riker, 2009 WL 910971, at *3-4 (prisoners’

   claims of inadequate health care typical of class claims); Lambertz-Brinkman, 2008 WL 4774895,

   at *2 (female prisoners’ claims of inadequate health care typical of class claims); Robert E. v. Lane,

   530 F. Supp. 930, 942 (N.D. Ill. 1981) (prison health care claims typical where plaintiffs sought to

   certify class based on allegations of “systemic behavior and harm”).

                              4. Fairness and Adequacy of Representation

         Rule 23(a)(4) requires a determination that the class representatives will fairly and adequately

                                                     -29-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 29 of 33 Pageid#: 3881
   represent the interests of the entire class. Satisfaction of this element turns on two inquiries --

   whether the named plaintiffs have interests conflicting with those of absent class members; and

   whether class counsel are competent to conduct the class action and fairly represent the interests of

   the class. McGlothlin, 142 F.R.D. at 633. Here, Plaintiffs do not have any interests in conflict with

   the interests of the members of the class they seek to represent. Plaintiffs do not seek relief for

   themselves different in quality or character from the relief sought for the class as a whole. Rather,

   Plaintiffs seek a declaratory judgment and an injunctive order requiring the Defendants to provide

   the constitutionally-required level of care sufficient to meet the serious medical needs of all FCCW

   prisoners, now and in the future. Moreover, each of the named plaintiffs understands and fully

   accepts her responsibility as a class representative to vigorously prosecute this case in furtherance

   of her own interests and the interests of the class as a whole.

         Plaintiffs are represented by experienced and qualified counsel who are competent to conduct

   this action and fairly represent the interests of plaintiffs and the class as a whole. The Legal Aid

   Justice Center and the Washington Lawyers’ Committee for Civil Rights and Urban Affairs are

   well-known public interest legal services organizations with substantial experience with respect to

   and involvement in civil rights litigation, including class actions, in Virginia and, as regards the

   Washington Lawyers’ Committee, other jurisdictions. Those two organizations are joined as

   co-counsel by the Washington, D.C. law firm of Wiley Rein LLP, which is representing the

   Plaintiffs in a pro bono capacity. Wiley Rein is a firm of more than 275 attorneys that handles

   complex civil litigation matters, and its lead counsel in this case has significant experience in

   prisoners’ civil rights cases and class actions.12 Accordingly, the requirements of Rule 23(a)(4) are


   12
     See, e.g., docket nos. 109 & 110 (memorandum opinion and order granting Plaintiffs’ petition for attorneys’
   fees).

                                                       -30-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 30 of 33 Pageid#: 3882
   satisfied here.

                                                        C.

         Plaintiffs seek certification of this case to proceed as a class action pursuant to the provisions

   of Rule 23(b)(2), which provides that certification is proper where “[t]he party opposing the class

   has acted or refused to act on grounds that apply generally to the class, so that final injunctive relief

   or corresponding declaratory relief is appropriate respecting the class as a whole.”

         That standard is met here. Plaintiffs’ amended pleadings allege that the Defendants have

   provided deficient medical care, or failed to provide medical care under circumstances in which it

   is plainly warranted and needed, on a systemic basis that jeopardizes the continuing health and

   well-being of Plaintiffs and all other prisoners residing or who will reside at FCCW. If Plaintiffs

   ultimately prevail on the merits of their claims, the resulting declaratory and injunctive relief will

   likewise apply to and benefit all members of the proposed class. As the leading commentators on

   class action practice and procedure have recognized, this is precisely the type of case for which class

   certification pursuant to Rule 23(b)(2) was intended: “Rule 23(b)(2) was drafted specifically to

   facilitate relief in civil rights suits. Most class actions in the constitutional and civil rights areas seek

   primarily declaratory and injunctive relief on behalf of the class and therefore readily satisfy the

   Rule 23(b)(2) class action criteria.” 8 Conte & Newberg, supra, § 25.20 at 550 (citations omitted).

   See generally Thorn v. Jefferson-Pilot Life Ins. Co., 445 F.3d 311, 330 (4th Cir. 2006) (“Rule

   23(b)(2) was created to facilitate civil rights class actions.”).

         Consistent with this principle, federal courts regularly certify Rule 23(b)(2) classes in cases

   involving constitutional claims of prisoners alleging inadequate medical care and seeking injunctive

   relief. See, e.g., Parsons, 754 F.3d at 688-89 (“[B]y allegedly establishing systemic policies and

   practices that place every inmate in ADC custody in peril, and by allegedly doing so with deliberate

                                                       -31-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 31 of 33 Pageid#: 3883
   indifference to the resulting risk of serious harm to them, the defendants have acted on grounds that

   apply generally to the proposed class . . . rendering certification under Rule 23(b)(2) appropriate.”);

   accord Clarke, 267 F.R.D. at 198; Riker, 2009 WL 910971, at *5; Lambertz-Brinkman, 2008 WL

   4774895, at *4; Hilton v. Wright, 235 F.R.D 40, 53 (N.D.N.Y. 2006); Bradley, 151 F.R.D. at 427;

   see generally 7AA Charles A. Wright, Arthur R. Miller & Mary K. Kane, Federal Practice and

   Procedure § 1776.1 at 111-12 (3d ed. 2005) (citing cases).13



                                                         IV.

          As explained herein, this is an appropriate case for certification as a class action. The

   proposed class of plaintiffs consists of approximately 1,200 female prisoners whose health concerns

   are allegedly subject to a flawed prison healthcare system. The case concerns allegations of a

   common course of conduct by Defendants reflecting deliberate indifference to the prisoners’ serious

   medical needs. As a result, the principal factual and legal questions are common to the entire class,

   and the injuries that the named Plaintiffs claim to have suffered are typical of those suffered by the

   other women in the class.


   13
      As I have already observed, “courts routinely certify class actions involving prisoners, including cases
   challenging prison health care, mental health care, and dental care.” Flynn v. Doyle, 2007 WL 805788, at
   *3 (E.D. Wis. Mar. 14, 2007) (citing cases, certifying a class of “current and future [inmates at Taycheedah
   Correctional Institution (TCI) in Fond du Lac, Wisconsin], and . . . current and future TCI prisoners who have
   a disability”); see also Dean v. Coughlin, 107 F.R.D. 331, 333 (S.D.N.Y. 1985) (citing cases, and certifying
   class of “all persons who will be inmates” to challenge inadequate dental care); Penland v. Warren Co. Jail,
   797 F.2d 332, 333-35 (6th Cir. 1986) (certifying (b)(2) class of “present and future prisoners” to challenge
   conditions of confinement, including health care); Bradley v. Harrelson, 151 F.R.D. 422, 425-27 (M.D. Ala.
   1993) (certifying (b)(2) class of seriously mentally ill prisoners to challenge adequacy of mental health
   services); Robert E. v. Lane, 530 F. Supp. 930, 941-44 (N.D. Ill. 1981) (certifying (b)(2) class of “all persons
   who are or will be incarcerated at Stateville and who need or will need mental health services”); Jones ’El
   v. Berge, 2001 WL 34379611, at *12-13 W.D. Wis.2001) (certifying 23(b)(2) class of prisoners subject to
   “systemic” unconstitutional conditions of confinement, including inadequate medical, mental health, and
   dental care); Hassine v. Jeffes, 846 F.2d 169, 175-80 (3d Cir. 1988) (certifying 23(b)(2) class of prisoners
   challenging conditions of confinement).

                                                        -32-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 32 of 33 Pageid#: 3884
        An appropriate order accompanies this memorandum opinion.

        Entered this 20th       day of November, 2014.




                                             -33-



Case 3:12-cv-00036-NKM-JCH Document 188 Filed 11/20/14 Page 33 of 33 Pageid#: 3885
